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UNITED STATES COURT OF INTERNATIONAL TRADE BEFORE:
HON. TIMOTHY C. STANCEU, SENIOR JUDGE
_________________________________________
                                          :
NUTRICIA NORTH AMERICA, INC.,             :
                                          :
                        Plaintiff,        :   Court No. 16-00008
                                          :
                  v.                      :
                                          :
UNITED STATES,                            :
                                          :
                                          :
                               Defendant. :
_________________________________________:


                         AMENDED SCHEDULING ORDER

       Upon reading Plaintiff’s Consent Motion to Modify the Court’s Scheduling Order and
upon due deliberation and consideration of all other papers before the Court, it is hereby,

      ORDERED that Plaintiff’s Consent Motion to Modify the Court’s Scheduling Order of
October 4, 2021 is granted;

       ORDERED that the Court’s Scheduling Order is amended as follows:

   1. Dispositive motions, if any, will be filed by January 21, 2022.

   2. A brief in response to a dispositive motion may include a dispositive cross-motion.
   3. If no dispositive motions are filed, a request for trial, if any, will be filed by February
      18, 2022 and will be accompanied by a proposed Order Governing Preparation for
      Trial.

   4. If necessary, trial will begin at a time and place ordered by the court.



                                       /s/ Timothy C. Stanceu
                                           Senior Judge



Dated: December 16, 2021
New York, New York
